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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 22-60228-CIV-BLOOM/VALLE

     LOUIS VUITTON MALLETIER,

                   Plaintiff,
     vs.

     LVHUT.NET, et al.,

                   Defendants.
                                                          /

    PLAINTIFF’S EX PARTE MOTION FOR ORDER AUTHORIZING ALTERNATE
   SERVICE OF PROCESS ON DEFENDANTS PURSUANT TO FEDERAL RULE OF
 CIVIL PROCEDURE 4(f)(3) AND MEMORANDUM OF LAW IN SUPPORT THEREOF

           Plaintiff, Louis Vuitton Malletier, (“Plaintiff”) hereby moves this Honorable Court, on an

 ex parte basis, 1 for an order authorizing alternate service of process on Defendants, the

 Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A” hereto

 (“Defendants”) pursuant to Federal Rule of Civil Procedure 4(f)(3), and in support submits the

 following memorandum of law.

 I.        INTRODUCTION

           Plaintiff is suing Defendants for trademark counterfeiting and infringement, false

 designation of origin, cybersquatting, common law unfair competition, and common law




 1
   On February 4, 2022, Plaintiff filed its Ex Parte Application for Entry of Temporary
 Restraining Order and Preliminary Injunction (the “Application for TRO”) ECF No. [6], which is
 currently pending before the Court. (See Declaration of Virgilio Gigante in Support of
 Plaintiff’s Ex Parte Motion for Order Authorizing Alternate Service of Process on Defendants
 (“Gigante Decl.”) ¶ 2, n.1, filed herewith.) The instant Motion makes reference to Plaintiff’s
 Application for TRO, and as such, Plaintiff seeks to prevent premature disclosure of that filing.
 (Id.) Accordingly, Plaintiff is moving for alternate service ex parte as Plaintiff has yet to provide
 Defendants with notice of this action. (Id.) However, Plaintiff is filing this Motion so that, in the
 event this Motion is granted, Plaintiff can effectuate service of process pursuant to Rule 4 of the
 Federal Rules of Civil Procedure simultaneously with providing notice of the Court’s Order.
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 trademark infringement. Defendants are knowingly and intentionally promoting, advertising,

 distributing, offering for sale, and selling goods using or bearing counterfeits and infringements

 of Plaintiff’s registered trademarks within this district and throughout the United States through

 the fully interactive, commercial Internet websites operating under the domain names identified

 on Schedule “A” hereto (the “Subject Domain Names”).

        Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff requests an order

 authorizing service of process on Defendants via electronic mail (“e-mail”) and via website

 posting. Alternate service by e-mail and by posting on a designated website are appropriate and

 necessary in this case, because Defendants (1) operate via the Internet; and (2) rely on electronic

 communications to operate their businesses. As such, Plaintiff has the ability to contact

 Defendants directly and provide notice of Plaintiff’s claims against them electronically via e-

 mail to Defendants’ known e-mail addresses, including onsite contact forms embedded directly

 in Defendants’ respective websites. Additionally, Plaintiff has created a website where it will be

 posting copies of the Complaint, Application for TRO, this Motion, and all other documents filed

 in this action. Plaintiff respectfully submits that an order allowing service of process and service

 of all filings and discovery via e-mail and by posting on a designated website in this case will

 benefit all parties and the Court by ensuring Defendants receive immediate notice of the

 pendency of this action and allowing this action to move forward expeditiously. Absent the

 ability to serve Defendants by e-mail and/or by website posting, Plaintiff will almost certainly be

 left without the ability to pursue a remedy.

 II.    STATEMENT OF FACTS

       A.       Defendants Identify Electronic Means for Contact.

        Defendants operate Internet-based businesses and identify e-mail, including onsite

 contact forms, as a means of communication. Specifically, Defendants are able to receive notice


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 of this action electronically via e-mail to Defendants’ e-mail addresses provided as part of the

 domain registration for the Subject Domain Names, via e-mail to the e-mail addresses provided

 in connection with Defendants’ respective Internet websites, including customer service e-mail

 addresses and onsite contact forms, or via e-mail to Defendants’ registrars. (See Gigante Decl. ¶

 5.) As a practical matter, it is necessary for merchants who operate entirely online, such as

 Defendants, to provide customers with an accurate means by which customers may contact the

 merchants to ask questions about the merchants’ products, place orders from the merchants, and

 receive information from the merchants regarding the shipments of orders. Moreover, e-

 commerce defendants generally must maintain accurate e-mail addresses where the domain

 registrar may communicate with them regarding issues related to the purchase, transfer, and

 maintenance of their domain name accounts. Additionally, Plaintiff has created a serving notice

 website that will be appearing at the URL, http://servingnotice.com/Ls39fx1/index.html

 (“Plaintiff’s Website”), such that anyone accessing Plaintiff’s Website will find copies of all

 documents filed in this action. (See Gigante Decl. ¶ 6.)

        Plaintiff’s counsel obtained the publicly available domain name registration records for

 each of the Subject Domain Names identifying the contact e-mail addresses Defendants provided

 their registrars. (Id. at ¶ 4.) Additionally, Plaintiff’s counsel obtained the available e-mail

 addresses and onsite contact forms Defendants identified in connection with their respective

 Internet websites. (Id.) Each Defendant will be provided with notice of this action electronically

 via e-mail by providing the address to Plaintiff’s designated serving notice website to the e-mail

 addresses provided by Defendants as part of the domain registration data for each of the Subject

 Domain Names or on their respective websites operating thereunder, including customer service

 e-mail addresses and onsite contact forms, or via their designated Registrar’s domain owner




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 contact form or e-mail address. 2 (Id. at ¶ 5.) In this manner, Defendants will receive a web

 address at which they can access all electronic filings to view, print, or download any document

 filed in the case similar to the court’s CM/ECF procedures. (Id.)

         Furthermore, Plaintiff will be able to provide each Defendant notice of this action via

 public announcement on Plaintiff’s designated website. (See Gigante Decl. ¶ 6.) Plaintiff has

 created its Website that will appear at the URL http://servingnotice.com/Ls39fx1/index.html,

 whereon copies of the Complaint, and all other pleadings, documents and orders issued in this

 action will be posted such that anyone accessing Plaintiff’s Website will find copies of all

 documents filed in this action. (Id.) The address for Plaintiff’s Website will be provided to

 Defendants via e-mail to Defendants’ known e-mail accounts and will be included as part of

 service of process in this matter. (Id.)

        B.       Defendants Rely on Electronic Communications.

         Defendants have structured their website businesses so that the means for customers to

 purchase Defendants’ counterfeit goods at issue is by placing an order electronically. (See

 Gigante Decl. ¶ 3.) Defendants purport to take and confirm orders online as well as via e-mail

 and/or private messaging services such as WhatsApp and WeChat, or via phone and

 communicate with customers via electronic means, including e-mail and onsite contact forms.

 (See id.; see also relevant web captures from Defendants’ Internet websites operating under the

 Subject Domain Names attached as Composite Exhibit “2” to Plaintiff’s Complaint [ECF No. 1-

 3 through 1-5], incorporated herein by reference.) Clearly, Defendants rely on electronic means

 as a reliable form of contact.




 2
  The e-mail addresses and other means of electronic contact for Defendants are provided on
 Schedule “A” hereto. (See Gigante Decl. ¶ 4.)


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 III.   ARGUMENT

        Pursuant to Federal Rule of Civil Procedure 4(h)(2), a foreign partnership or other

 unincorporated association may be served with process in any manner prescribed by Rule 4(f) for

 serving foreign individuals. Federal Rule of Civil Procedure 4(f)(3), allows a district court to

 authorize an alternate method for service to be effected upon a foreign defendant, provided that it

 is not prohibited by international agreement and is reasonably calculated to give notice to the

 defendant. In the present matter, alternate service of process via e-mail and by posting on

 Plaintiff’s Website are appropriate given that Defendants have established Internet-based

 businesses by which they rely on electronic communication for their operation. Accordingly,

 this Court should permit service on Defendants by e-mail and website posting.

        A.      The Court May Authorize Service via E-mail and Website Posting Pursuant
                to Federal Rule of Civil Procedure 4(f)(3).

        Federal Rule of Civil Procedure 4(h)(2) allows a foreign business entity to be served with

 process “in any manner prescribed by Rule 4(f),” including any manner ordered under Rule

 4(f)(3). U.S. Commodity Futures Trading Comm’n v. Aliaga, 272 F.R.D. 617, 619 (S.D. Fla.

 2011). A foreign partnership or other unincorporated association can therefore be served in the

 same manner as serving a foreign individual pursuant to Rule 4(f)(3). Id. Federal Rule of Civil

 Procedure 4(f)(3) allows alternative methods for service of process, so long as those methods are

 not prohibited by international agreement and are directed by the Court. See Prewitt Enters., Inc.

 v. The Org. of Petrol. Exporting Countries, 353 F.3d 916, 923 (11th Cir. 2003). See also

 Brookshire Bros., Ltd. v. Chiquita Brands Int’l, Case No. 05-CIV-21962, 2007 WL 1577771, at

 *2 (S.D. Fla. May 31, 2007); Rio Props. Inc., v. Rio Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir.

 2002). In fact, “as long as court-directed and not prohibited by an international agreement,

 service of process ordered under Rule 4(f)(3) may be accomplished in contravention of the laws



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 of the foreign country.” Chanel, Inc. v. Zhixian, Case No. 10-cv-60585-JIC, 2010 WL 1740695,

 at *3 (S.D. Fla. April 29, 2010) (quoting Rio Props., 284 F.3d at 1014 and citing Mayoral–Amy

 v. BHI Corp., 180 F.R.D. 456, 459 n. 4 (S.D. Fla. 1998)).

        The plain language of Rule 4(f)(3) reflects that the decision to issue an order allowing an

 alternate means of service lies within the sole discretion of the District Court. Prewitt Enters.,

 Inc., 353 F.3d at 921; Rio Props., 284 F.3d at 1116. See, e.g., Brookshire Bros., Ltd., 2007 WL

 1577771, at *2 (noting that “district courts have broad discretion under Rule 4(f)(3) to authorize

 other methods of service”); In re Int’l Telemedia Assocs., 245 B.R. 713, 720 (N.D. Ga. 2000)

 (noting that Rule 4(f)(3) is designed to allow courts discretion and broad flexibility to tailor the

 methods of service for a particular case). Rule 4 does not require a party attempt service of

 process by those methods enumerated under subsections (f)(1) and (f)(2), including by

 diplomatic channels and letters rogatory, before petitioning the court for alternative relief under

 subsection 4(f)(3). Rio Props., 284 F.3d at 1114-15; see also Brookshire Bros., Ltd., 2007 WL

 1577771, at *1. In Brookshire, the Honorable Judge Marcia G. Cooke allowed substitute service

 on a party’s attorney pursuant to Rule 4(f)(3) holding as follows:

        Rule 4(f)(3) is one of three separately numbered subsections in Rule 4(f)
        and each subsection is separated from the one previous merely by the
        simple conjunction ‘or.’ Rule 4(f)(3) is not subsumed within or in any way
        dominated by Rule 4(f)’s other subsections; it stands independently, on
        equal footing. Moreover, no language in Rules 4(f)(1) or 4(f)(2) indicates
        the primacy, and certainly Rule 4(f)(3) indicates no qualifiers or
        limitations which indicate its availability only after attempting service of
        process by other means.

 Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Rio Props., 284 F.3d at 1015). Accord

 TracFone Wireless, Inc. v. Bitton, 278 F.R.D. 687, 692 (S.D. Fla. Jan 11, 2012) (noting that, in

 regards to Rule 4(f)(3), “there is no indication from the plain language of the Rule that the three

 subsections, separated by the disjunctive “or,” are meant to be read as a hierarchy.”) Judge



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 Cooke further held, “[t]he invocation of Rule 4(f)(3), therefore, is neither a last resort nor

 extraordinary relief.” Brookshire Bros., Ltd., 2007 WL 1577771, at *2.

        Additionally, the Constitution itself does not mandate that service be effectuated in any

 particular way. Rather, Constitutional due process considerations require only that the method of

 service selected be “reasonably calculated, under all the circumstances, to apprise interested

 parties of the pendency of the action and afford them an opportunity to present their objections.”

 Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Mullane v. Cent. Hanover Bank &

 Trust Co., 339 U.S. 306, 314 (1950)); see also TracFone Wireless, Inc., 278 F.R.D. at 692; Rio

 Props., 284 F.3d at 1016. Accordingly, federal courts have allowed a variety of alternative

 service methods, including service by e-mail and service by posting on a designated website,

 where a plaintiff demonstrates the likelihood that the proposed alternative method of service will

 notify a defendant of the pendency of the action. See, e.g., Rio Props., 284 F.3d at 1017 (holding,

 “without hesitation,” that e-mail service of an online business defendant “was constitutionally

 acceptable”); In re Int’l Telemedia Assocs., 245 B.R. at 721 (“If any methods of communication

 can be reasonably calculated to provide a defendant with real notice, surely those communication

 channels utilized and preferred by the defendant himself must be included among them.”);

 National Association for Stock Car Auto Racing, Inc. v. Does, 584 F. Supp. 2d 824, 826

 (W.D.N.C. 2008) (in “acknowledging the realities of the twenty-first century and the information

 age, the Court determined that the most appropriate place for publication was [plaintiff’s

 website].”).

        Here, service on Defendants by e-mail and/or by posting on Plaintiff’s Website will

 satisfy due process by apprising them of the action and giving them the opportunity to answer

 Plaintiff’s claims. Plaintiff has verified that each Defendant has at least one form of electronic




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 means of contact, demonstrating that this means of contact is not just effective, but the most

 reliable means of communicating with that Defendant, and consequently, the most reliable means

 of providing Defendants with notice of this action. (See Gigante Decl. ¶¶ 4-5.) Moreover, service

 by posting on Plaintiff’s Website will be an additional source of reliability as Defendants will be

 able to see copies of the Complaint and all other documents in this matter electronically via their

 Internet browser. (See Gigante Decl. ¶ 6.) The suggested methods are the most reliable means of

 providing Defendants with notice of this action.

        E-mail service on an online business defendant is appropriate and constitutionally

 acceptable in a case such as this when the plaintiff has proven that e-mail is the most effective

 means of providing the defendant notice of the action. See Rio Props., 284 F.3d at 1017

 (concluding “not only that service of process by e-mail was proper—that is, reasonably

 calculated to apprise [the defendant] of the pendency of the action and afford it an opportunity to

 respond—but in this case, it was the method of service most likely to reach [the defendant].”).

 See also Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 562 (E.D. Tenn.

 2004) (“Under the facts and circumstances presented here, Rule 4(f)(3) clearly authorizes the

 court to direct service upon defendant by e-mail. The rule is expressly designed to provide courts

 with broad flexibility in tailoring methods of service to meet the needs of particularly difficult

 cases. Such flexibility necessarily includes the utilization of modern communication

 technologies to effect service when warranted by the facts.”) (citation omitted). The Rio

 Properties and Popular Enters., LLC courts each determined e-mail service to be appropriate in

 part because, as in this case, the defendants conducted their business online, use e-mail,

 including onsite contact forms, in their business, and encouraged parties to contact them via e-

 mail and onsite contact forms. See id.




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        In cases that are factually similar to this one, a number of Courts have held that alternate

 forms of service pursuant to Rule 4(f)(3), such as e-mail service, are appropriate and may be the

 only means of effecting service of process “when faced with an international e-business

 scofflaw.” Rio Props., 284 F.3d at 1018; see also Chanel, Inc. v. Zhixian, 2010 WL 1740695, at

 * 2 (e-mail service “reasonably calculated to notify Defendants of the pendency of this action

 and provide him with an opportunity to present objections.”); TracFone Wireless, Inc., 278

 F.R.D. at 693 (finding that service of process by e-mail was reasonably calculated to apprise the

 defendants of the action and give it an opportunity to respond); Popular Enters., LLC, 225 F.R.D.

 at 563 (same); In re Int’l Telemedia Associates, 245 B.R. at 722 (“A defendant should not be

 allowed to evade service by confining himself to modern technological methods of

 communication not specifically mentioned in the Federal Rules. Rule 4(f)(3) appears to be

 designed to prevent such gamesmanship by a party.” (concluding e-mail and facsimile service to

 be appropriate)); Chanel, Inc. v. Zhibing, Case No. 09-cv-02835, 2010 WL 1009981, at *4

 (W.D. Tenn. March 17, 2010) (stating that e-mail service has the “greatest likelihood” of

 reaching e-commerce merchants and noting, “The federal judiciary’s own CM/ECF system alerts

 parties . . . by e-mail messages.” Alternate service via e-mail granted). 3 Plaintiff submits that



 3
   See, e.g., Louis Vuitton Malletier v. aaalvsale.com, Case No. 21-cv-60790-BB (S.D. Fla. April
 14, 2021) (Order authorizing alternate service of process via, inter alia, e-mail); Richemont Int’l
 SA v. Montblanchot.com, Case No. 20-cv-61941-BLOOM, 2020 U.S. Dist. LEXIS 177239 (S.D.
 Fla. Sept. 25, 2020, docketed Sept. 28, 2020) (same); Chanel, Inc. v. 7areplica, 19-cv-61532-
 BLOOM, 2019 U.S. Dist. LEXIS 233157 (S.D. Fla. June 24, 2019, docketed June 25, 2019)
 (same); Mycoskie, LLC v. Individuals, Case No. 19-cv-60518-BLOOM, 2019 U.S. Dist. LEXIS
 79801 (S.D. Fla. March 1, 2019) (same); Parsons Xtreme Golf, LLC v. Individuals P’ships and
 Unincorporated Assns. Identified on Schedule “A”, Case No. 19-cv-60310-BLOOM, 2019 U.S.
 Dist. LEXIS 79075 (S.D. Fla. Feb. 7, 2019, docketed Feb. 8, 2019) (same). See also Richemont
 Int'l SA v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule A, Case No. 20-
 61367-CIV-ALTONAGA/Strauss, 2020 U.S. Dist. LEXIS 210762 (S.D. Fla. July 10, 2020,
 docketed July 13, 2020) (same); Apple Corps v. Individuals, Case No. 20-60982-CIV-
 DIMITROULEAS/SNOW, 2020 U.S. Dist. LEXIS 141918 (S.D. Fla. May 21, 2020) (same);


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  allowing e-mail service in the present case is appropriate and comports with constitutional

  notions of due process, particularly given Defendants’ decisions to conduct their illegal

  businesses using the Internet and utilizing e-mail as a primary means of communication.

         Additionally, service of a defendant by posting on a designated website, such as a

  plaintiff’s website, has been deemed an appropriate means of service by website posting. See

  National Association for Stock Car Auto Racing, 584 F. Supp. 2d at 826. 4 A proposed method

  of website posting need only be “reasonably calculated under all the circumstances, to apprise

  interested parties of the pendency of the action and afford them an opportunity to present their

  objections.” National Association for Stock Car Auto Racing, 584 F. Supp. 2d at 826 (citing

  Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 315-16, 70 S. Ct. 652, 94 L. Ed. 865

  (1950)). In National Association for Stock Car Auto Racing, Inc. v. Does, the United States

  District Court for the Western District of North Carolina determined that the plaintiff could serve




  Taylor Made Golf Co. v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule
  "A", Case No. 20-60468-CIV-SMITH, 2020 U.S. Dist. LEXIS 109840 (S.D. Fla. April 9, 2020,
  docketed April 13, 2020) (same).
  4
    See, e.g., Louis Vuitton Malletier v. aaalvsale.com, Case No. 21-cv-60790-BB (S.D. Fla. April
  14, 2021) (Order granting alternative service via e-mail and by posting on plaintiff’s designated
  website); Richemont Int’l SA v. Montblanchot.com, Case No. 20-cv-61941-BLOOM, 2020 U.S.
  Dist. LEXIS 177239 (S.D. Fla. Sept. 25, 2020, docketed Sept. 28, 2020) (same); Chanel, Inc. v.
  7areplica, 19-cv-61532-BLOOM, 2019 U.S. Dist. LEXIS 233157 (S.D. Fla. June 24, 2019,
  docketed June 25, 2019) (same); Mycoskie, LLC v. Individuals, Case No. 19-cv-60518-
  BLOOM, 2019 U.S. Dist. LEXIS 79801 (S.D. Fla. March 1, 2019) (same); Parsons Xtreme Golf,
  LLC v. Individuals P’ships and Unincorporated Assns. Identified on Schedule “A”, Case No. 19-
  cv-60310-BLOOM, 2019 U.S. Dist. LEXIS 79075 (S.D. Fla. Feb. 7, 2019, docketed Feb. 8,
  2019) (same). See also Richemont Int’l SA v. Individuals, P’ships & Unincorporated Ass’ns
  Identified on Schedule A, Case No. 20-61367-CIV-ALTONAGA/Strauss, 2020 U.S. Dist.
  LEXIS 210762 (S.D. Fla. July 10, 2020, docketed July 13, 2020) (same); Apple Corps v.
  Individuals, Case No. 20-60982-CIV-DIMITROULEAS/SNOW, 2020 U.S. Dist. LEXIS 141918
  (S.D. Fla. May 21, 2020) (same); Taylor Made Golf Co. v. Individuals, P’ships &
  Unincorporated Ass’ns Identified on Schedule “A”, Case No. 20-60468-CIV-SMITH, 2020 U.S.
  Dist. LEXIS 109840 (S.D. Fla. April 9, 2020, docketed April 13, 2020) (same).


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  “Doe” defendants and apprise those defendants of a pending preliminary injunction hearing by

  posting on the plaintiff’s website. Id.

         Accordingly, Plaintiff has created its website which will be appearing at the URL

  http://servingnotice.com/Ls39fx1/index.html whereon copies of the Complaint, this Motion, and

  all other pleadings, documents, and orders issued in this action will be posted. (See Gigante

  Decl. ¶ 6.) The address for Plaintiff’s Website will be provided to each Defendant via its known

  e-mail accounts and will be included as part of service of process in this matter. (See id.) Posting

  the Summonses, Complaint, and all pleadings, documents, and orders issued in this action on

  Plaintiff’s Website will provide notice to Defendants sufficient to meet the due process

  requirements for service of process and notice pursuant to Federal Rule of Civil Procedure 4,

  apprise Defendants of the pendency of this action, and afford Defendants and any other

  interested parties an opportunity to present their answers and objections.

        B.       Service of Process Via Electronic Means Are Not Prohibited by International
                 Agreement.

         Service via e-mail and via posting on a designated website are not prohibited by

  international agreement. Based upon the data provided in connection with Defendants’ domain

  name registrations and Internet websites, including all of the investigative data provided

  thereunder, Plaintiff has good cause to suspect Defendants are all residing and/or operating in the

  China, France, Japan, Pakistan, Russia, Indonesia, Singapore or other foreign countries, and/or

  redistribute products from sources in those countries. (Gigante Decl. ¶ 7.) The United States,

  China, France, Japan, Pakistan, and Russia are signatories to the Hague Convention on the

  Service Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters (the




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  “Hague Service Convention”). 5 (Gigante Decl. ¶ 8 and Composite Exhibit “1” attached thereto,

  Hague Service Convention and list of signatory Members.) However, the Hague Service

  Convention does not preclude the Court from authorizing service of process via e-mail or posting

  on a designated website. Additionally, there are no service treaties between the United States

  and Indonesia or Singapore. (See Gigante Decl. ¶ 8.) Thus, there are no international agreements

  prohibiting service by e-mail or posting on a designated website. (Id.)

         Alternative means of service, such as e-mail and website posting, are not prohibited by

  the Hague Service Convention where a signatory nation has not expressly objected to those

  means. See Stat Med. Devices, Inc. v. HTL-Strefa, Inc., Case No. 15-cv-20590-FAM, 2015 U.S.

  Dist. LEXIS 122000 (S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternative forms

  of service set forth in the Hague Convention is limited to the forms of service expressly objected

  to). 6 Article 10 to the Hague Service Convention allows service of process through means other




  5
   Indonesia and Singapore are not signatories to the Hague Convention. (See Gigante Decl. ¶ 8,
  n.2.)
  6
    See also, Louis Vuitton Malletier v. aaalvsale.com, Case No. 21-cv-60790-BB (S.D. Fla. April
  14, 2021) (authorizing e-mail service and by posting on plaintiff’s designated website, noting an
  objection to the alternative means of service provided by the Hague Convention is expressly
  limited to those means and does not represent an objection to other forms of service, such e-mail
  or website posting); Richemont Int’l SA v. Montblanchot.com, Case No. 20-cv-61941-BLOOM,
  2020 U.S. Dist. LEXIS 177239 (S.D. Fla. Sept. 25, 2020, docketed Sept. 28, 2020) (same);
  Chanel, Inc. v. 7areplica, 19-cv-61532-BLOOM, 2019 U.S. Dist. LEXIS 233157 (S.D. Fla. June
  24, 2019, docketed June 25, 2019) (same); Mycoskie, LLC v. Individuals, Case No. 19-cv-
  60518-BLOOM, 2019 U.S. Dist. LEXIS 79801 (S.D. Fla. March 1, 2019) (same). See also
  Richemont Int’l SA v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule A,
  Case No. 20-61367-CIV-ALTONAGA/Strauss, 2020 U.S. Dist. LEXIS 210762 (S.D. Fla. July
  10, 2020, docketed July 13, 2020) (same); Apple Corps v. Individuals, Case No. 20-60982-CIV-
  DIMITROULEAS/SNOW, 2020 U.S. Dist. LEXIS 141918 (S.D. Fla. May 21, 2020) (same);
  Taylor Made Golf Co. v. Individuals, P’ships & Unincorporated Ass’ns Identified on Schedule


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  than a signatory’s Central Authority, such as “postal channels” and “judicial officers,” provided

  the State of destination does not object to those means. See Hague Convention, Art. 10, 20

  U.S.T. 361 (1969). China, Japan, Pakistan, and Russia have objected, either fully or partially, to

  the alternative means of service outlined in Article 10 of the Convention. 7 (Gigante Decl. ¶

  8.) However, those objections are specifically limited to the means of service enumerated in

  Article 10, and further, China, France, Japan, Pakistan, and Russia have not expressly objected to

  service via e-mail or website posting. (Gigante Decl. ¶ 8; see also Comp. Ex. 1 thereto, true and

  correct printouts of China’s, France’s, Japan’s, Pakistan’s, and Russia’s respective Declaration /

  Reservation / Notification in regards to the Hague Convention.) Because the declarations to the

  Hague Convention filed by China, France, Japan, Pakistan, and Russia do not object to e-mail

  and website posting service, “a court acting under Rule 4(f)(3) remains free to order alternative

  means of service that are not specifically referenced in Article [10].” Gurung v. Malhotra, 279

  F.R.D. 215, 219 (S.D.N.Y. 2011); see also WhosHere, Inc. v. Orun, Case No. 13-cv-00526-AJT,

  2014 U.S. Dist. LEXIS 22084, at *9 (E.D. Va. Feb. 20, 2014) (authorizing e-mail service, noting

  objection to means of service listed in Article 10 “is specifically limited to the enumerated means

  of service in Article 10.”).

          Moreover, an objection to the alternative means of service provided in Article 10 does

  not represent a per se objection to other forms of service, such e-mail or website posting. See In

  re S. African Apartheid Litig., 643 F. Supp. 2d 423, 434, 437 (S.D.N.Y. 2009) (requiring express



  “A”, Case No. 20-60468-CIV-SMITH, 2020 U.S. Dist. LEXIS 109840 (S.D. Fla. April 9, 2020,
  docketed April 13, 2020) (same).
  7
    France does not object to the alternate means of service, including postal channels, as outlined
  in Article 10 of the convention. Japan and Pakistan have not declared any opposition to the
  alternative means of service by postal channels outlined in Article 10(a) of the Hague
  Convention. (See Gigante Decl. ¶ 8, n.4.)


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  objection to alternative method of service by signatory nation to preclude that particular means

  of service). Consequently, China’s, Japan’s, Pakistan’s, and Russia’s objection to the means of

  alternative service provided in Article 10 is no bar to court-directed service and does not prevent

  this Court from authorizing alternative service of process via e-mail or website posting. See, e.g.,

  Gurung, 279 F.R.D. at 220 (approving service of process on foreign defendants via e-mail

  despite India’s objection to Article 10, stating that an “objection to service through postal

  channels does not amount to an express rejection of service via electronic mail.”); Stat Med.

  Devices, Inc., 2015 U.S. Dist. LEXIS 122000 at *8-9 (permitting service of process on foreign

  defendants via e-mail and substituted service on domestic counsel despite Poland’s objection to

  Article 10, noting “This Court and many other federal courts have permitted service by

  electronic mail and determined that an objection to Article 10 of the Hague Convention . . . does

  not equate to an express objection to service via electronic mail.”); FTC v. PCCare247 Inc., Case

  No. 12-cv-7189-PAE, 2013 U.S. Dist. LEXIS 31969, at * 10 (S.D.N.Y. March 7, 2013)

  (authorizing service of process via email and Facebook, explaining that “Numerous courts have

  held that service by email does not violate any international agreement where the objections of

  the recipient nation are limited to those means enumerated in Article 10.”); WhosHere, Inc.,

  2014 U.S. Dist. LEXIS 22084 (authorizing service of process on foreign defendants via e-mail

  despite Turkey’s objection to Article 10); Richmond Techs., Inc. v. Aumtech Bus. Solutions,

  Case No. 11-CV-02460-LHK, 2011 U.S. Dist. LEXIS 71269 (N.D. Cal. July 1, 2011)

  (“[N]umerous courts have authorized alternative service under Rule 4(f)(3) even where the

  Hague Convention applies. This is true even in cases involving countries that, like India, have

  objected to the alternative forms of service permitted under Article 10 of the Hague

  Convention.”).




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  IV.    CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests this Court grant the present

  motion and authorize service of the Summonses, the Complaint, and all filings and discovery in

  this matter upon each Defendant in this action:

         (1)     via e-mail by providing the address to Plaintiff’s designated serving notice

  website to Defendants via the e-mail address provided by that Defendant as part of the domain

  registration records for each of their respective domain names, including service via registrar, or

  on the Internet websites operating under each of their respective corresponding domain names,

  including customer service e-mail addresses and onsite contact forms, as identified on Schedule

  “A” hereto; and

         (2)     via website posting by posting a copy of the Complaint, Summonses, and all

  filings and discovery on Plaintiff’s designated serving notice website appearing at the URL

  http://servingnotice.com/Ls39fx1/index.html.

  DATED: February 4, 2021.                      Respectfully submitted,
                                                STEPHEN M. GAFFIGAN, P.A.
                                                By: Virgilio Gigante/_________
                                                Stephen M. Gaffigan (Fla. Bar No. 025844)
                                                Virgilio Gigante (Fla. Bar No. 082635)
                                                T. Raquel Wiborg-Rodriguez (Fla. Bar No. 103372)
                                                401 East Las Olas Blvd., #130-453
                                                Ft. Lauderdale, Florida 33301
                                                Telephone: (954) 767-4819
                                                E-mail: stephen@smgpa.net
                                                E-mail: leo@smgpa.net
                                                E-mail: raquel@smgpa.net

                                                Attorneys for Plaintiff Louis Vuitton Malletier




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                                        SCHEDULE A
                        DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME,
                                  AND MEANS OF CONTACT

Defendant      Defendant / Subject
                                                               Means Of Contact
 Number          Domain Name
                                        service@lvhut.net
   1        lvhut.net
                                        9ac1d8e3f955409880a56589b50a8d3c.protect@withheldforprivacy.com
    2       louis-special-sale.shop     louis@help-service.vip
    3       goslouisvuitton.com         http://whois.xinnet.com/sendemail/goslouisvuitton.com
    4       louisved.xyz                support@clientvip.biz
    5       louisvued.com               support@clientvip.biz
    6       louisvuitton-my.site        support@clientvip.biz
    7       lovelvbag.store             fashionstore1999@outlook.com
    8       lvicon.online               support@clientvip.biz
    9       lv-malaysia.store           support@clientvip.biz
   10       lvoutlet.ca                 service@lvhut.net
                                        reazeemady66@gmail.com
   11       lvreplicashop.com
                                        pw-e29d1aa531c4c5fc1d1c5f1c846bd164@privacyguardian.org
   12       lv-thegardens.com           support@clientvip.biz
   13       malaysia-lv.com             support@clientvip.biz
   14       malaysia-lvbag.store        support@clientvip.biz
   15       my-lvbag.info               support@clientvip.biz
                                        salestores666@gmail.com
   16       perfectlouisvuittonsale.com shayewmallory23@gmail.com
                                        pw-92a605401c3ae22ed5c120846a11b0e7@privacyguardian.org
                                        michelle@designeronsell.com
   17       replicalvonline.com
                                        pw-54805e67a63be095dce91ce20ac697a5@privacyguardian.org
   18       thegardens-lv-kl.com        support@clientvip.biz
   19       toplvmall.com               support@toplvmall.com
   20       aaaluxurybags.com           453505880@qq.com
   21       66shop.ru                   xvbagcom@163.com
   22       aaaclothing.ru              payment@aaashirt.ru
   23       aaapurse.nu                 https://www.aaapurse.nu/contact-us/
   24       aaareplica.co               perfect-luxury@outlook.com
   25       aaraplica.com               aareplicaco@outlook.com
   26       abcbyiktuys.pw              luxurystoreforall@gmail.com
   27       acmaaslea.top               https://acmaaslea.top/index.php?main_page=contact_us
                                        service.luxurycloset@outlook.com
   28       addnss.com
                                        pw-28665f641dba94957e912a4435bba328@privacyguardian.org
   29       aimji.live                  support@clientvip.biz
   30       annjxauo.top                https://annjxauo.top/index.php?main_page=contact_us


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31      associateadapt.top      elinor@cementfresh.work
32      bagsreplica.de          https://bagsreplica.de/index.php?route=information/contact
33      baofse.top              https://baofse.top/index.php?main_page=contact_us
34      bdkind.store            jay20190917@gmail.com
35      bdznednz.top            https://bdznednz.top/index.php?main_page=contact_us
36      bestbag.shop            abuse@namesilo.com
37      bestqualityreplica.ru   sales@bestqualityreplica.ru
38      btsmud.top              https://btsmud.top/index.php?main_page=contact_us
39      buyebag.top             https://buyebag.top/index.php?main_page=contact_us
40      bvcnta.top              https://bvcnta.top/index.php?main_page=contact_us
41      bxsyeao.top             https://bxsyeao.top/index.php?main_page=contact_us
42      cbhjskv.top             https://cbhjskv.top/index.php?main_page=contact_us
43      cdftbag.top             https://cdftbag.top/index.php?main_page=contact_us
44      chinareplicbagas.com    https://www.dolabuy.ru/contact_us.html
                                pw-104a47b5a60debcd4fe7974d0cb965c7@privacyguardian.org
44      dolabuy.ru
                                https://www.dolabuy.ru/contact_us.html
44      replicacloibag.com      replicacloibag.com@whoisprotection.domains
44      thebagsreplicas.com     pw-6021c8873ad8eb0f82feb23f586f117e@privacyguardian.org
45      cmsbeb.top              https://cmsbeb.top/index.php?main_page=contact_us
46      cnaveua.top             https://cnaveua.top/index.php?main_page=contact_us
47      cnvjgrks.top            https://cnvjgrks.top/index.php?main_page=contact_us
                                romlyharvey12@gmail.com
48      copybagssale.com
                                pw-2ba9aefd577d5f8753952f66b30ba958@privacyguardian.org
                                shayewmallory23@gmail.com
49      copyforbags.com
                                pw-290f087957f709189d0dedfb032a6ee4@privacyguardian.org
50      corabags.ru             service@corabags.ru
51      csffbg.top              https://csffbg.top/index.php?main_page=contact_us
52      daphnesale.ru           daphnesale@qq.com
53      demakoaf.top            https://demakoaf.top/index.php?main_page=contact_us
54      dfsdfgrg.shop           service.luxurycloset@outlook.com
                                contact@dropthenew.com
55      dropthenew.com          contact@dropthenew.fr
                                https://dropthenew.com/pages/contactez-nous
56      dvrcbht.top             https://dvrcbht.top/index.php?main_page=contact_us
57      e8bags.co               http://e8bags.co/contacts/
58      ehdgfsh.top             https://ehdgfsh.top/index.php?main_page=contact_us
59      eyushi.top              https://eyushi.top/index.php?main_page=contact_us
                                replic4a@hotmail.com
60      ezzcc.com
                                erminugx91578@gmail.com
61      fabag.ru                fabagshop@hotmail.com




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                                   watchwhirl@gmail.com
62      fakescu.com
                                   pw-2867abc9df02e5c52fb4d69783953032@privacyguardian.org
63      famouside.com              pw-350e9991034d12d2b9e75a750ad9e9f7@privacyguardian.org
64      fashionbags-sale.com       replic4a@hotmail.com
65      fashionhouse.buzz          contact4@tokjinyu.com
66      fasionoto.ru               fasionoto@gmail.com
                                   watchwhirl@gmail.com
67      fauxbagsale.com
                                   pw-1091dc23fb030ce470da2527332bfe48@privacyguardian.org
68      fcdshsu.top                https://mnchwa.top/index.php?main_page=contact_us
68      mnchwa.top                 https://mnchwa.top/index.php?main_page=contact_us
69      fxtayhk.top                service@severalgoods.com
70      gdhnawo.top                https://gdhnawo.top/index.php?main_page=contact_us
                                   shayewmallory23@gmail.com
71      handbagsreplicastore.com   lisapeel95@gmail.com
                                   pw-ff582fcc81b7fa27d8ab4c7ad977fbd9@privacyguardian.org
72      hbndgyw.top                https://hbndgyw.top/index.php?main_page=contact_us
73      hellosneaker.ru            hellosnkr.ru@gmail.com
74      kindsneaker.net            kindsneaker9785@gmail.com
75      kopi-6.com                 kopi6jp@yeah.net
76      krosshop24.ru              https://krosshop24.ru/contact-us/
77      lianwholesale.com          lianjue@yahoo.com
78      lilysale.ru                lilysite@qq.com
78      lilysite.ru                lilysite@qq.com
79      luxcrime.ru                luxprime.ru@yandex.ru
79      lux-crime.ru               luxprime.ru@yandex.ru
                                   jackshopservice@outlook.com
80      luxebagseu.com
                                   pw-bab323f30f36acb996bbf0a01f61c7dc@privacyguardian.org
                                   jackshopservice@outlook.com
81      luxesborse.com
                                   702187062@qq.com
82      luxruy.com                 luxurybag2013@hotmail.com
83      luxury2018.com             luxury201888@163.com
84      luxurybagaa.com            jackshopservice@outlook.com
85      luxurybagoutlet.com        pw-13ab54734c825d1b64d638165094f6b2@privacyguardian.org
                                   watchwhirl@gmail.com
86      luxurymybag.com
                                   pw-e8aabfaa701ecfa5d0633490bc48b9fc@privacyguardian.org
87      luxuryshoesu.de            jackshopservice@outlook.com
88      luxurysuu.com              702187062@qq.com
89      luxurytasticreps.ru        info@luxurytasticmail.com
                                   hello@luxusdiva.com
90      luxusdiva.com
                                   56b14efc678e4281aeb2e3deadd0240b.protect@withheldforprivacy.com
91      mandybrands-03.com         https://www.1api.net/send-message/mandybrands-03.com/registrant
92      mcdeue.top                 https://mcdeue.top/index.php?main_page=contact_us


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 93      mchaui.top              https://mchaui.top/index.php?main_page=contact_us
 94      mckswh.top              https://mckswh.top/index.php?main_page=contact_us
 95      mdjitcx.top             https://mdjitcx.top/index.php?main_page=contact_us
 96      methodc.com             https://www.1api.net/send-message/methodc.com/registrant
 97      mfjernc.top             https://mfjernc.top/index.php?main_page=contact_us
 98      mfvjrsew.top            https://mfvjrsew.top/index.php?main_page=contact_us
 99      mgifkdls.top            https://mgifkdls.top/index.php?main_page=contact_us
100      mgsaywa.top             https://mgsaywa.top/index.php?main_page=contact_us
101      mhsebag.top             https://mhsebag.top/index.php?main_page=contact_us
102      mhycbag.top             https://mhycbag.top/index.php?main_page=contact_us
103      mnxhua.top              https://mnxhua.top/index.php?main_page=contact_us
104      mnxwok.top              https://mnxwok.top/index.php?main_page=contact_us
105      modecina.cn             2608304149@qq.com
105      modecina.ru             https://www.nic.ru/whois/send-message/?domain=modecina.ru
106      mxnbzw.top              https://mxnbzw.top/index.php?main_page=contact_us
107      mxsajkw.top             https://mxsajkw.top/index.php?main_page=contact_us
108      mzbhwu.top              https://mzbhwu.top/index.php?main_page=contact_us
109      nbvrtyf.top             huangxf2020@gmail.com
110      ncaxzjbn.top            https://ncaxzjbn.top/index.php?main_page=contact_us
111      nceubag.top             https://nceubag.top/index.php?main_page=contact_us
112      ncmfjrs.top             https://ncmfjrs.top/index.php?main_page=contact_us
113      ncrsfsd.top             https://ncrsfsd.top/index.php?main_page=contact_us
114      ncyesizs.top            https://ncyesizs.top/index.php?main_page=contact_us
115      ndsyve.top              https://ndsyve.top/index.php?main_page=contact_us
                                 service@neverfulloutlet.com
116      neverfulloutlet.com
                                 service@lvhut.net
117      newbuybuystations.com   krisjoanna798@gmail.com
118      ngfsfsfd.top            https://ngfsfsfd.top/index.php?main_page=contact_us
119      nmjhac.top              https://nmjhac.top/index.php?main_page=contact_us
120      nvxdedx.top             https://nvxdedx.top/index.php?main_page=contact_us
121      nyseti.top              https://nyseti.top/index.php?main_page=contact_us
122      originalhandbag.top     https://www.originalhandbag.top/contact_us.html
                                 borsesconto@gmail.com
123      outletborsa.net
                                 pw-4c3719c2b3fd9b9d680a938d4ec73eb1@privacyguardian.org
                                 salestores666@gmail.com
124      perfectfakebags.com
                                 pw-b2d31152fa83ee92727a639c7f1171ca@privacyguardian.org
125      pkajstore.com           ali1688lin@gmail.com
126      pkshoe.com              https://pkshoe.com/index.php?route=information/contact
126      pkshoe.net              https://pkshoe.com/index.php?route=information/contact
127      popbrandcenter.com      123456@gmail.com



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128      pursevalleyfactory.la   https://www.pursevalleyfactory.la/contactus/
129      qdfdny.top              https://qdfdny.top/index.php?main_page=contact_us
130      qdncz.top               servers@chlomail.com
                                 watchwhirl@gmail.com
131      qualitybestbags.com
                                 pw-76e50c1101b2a064ac6573e3e9a4bb3d@privacyguardian.org
132      realfashion24.com       bb62de1b9b2244408190cd0570dbe715.protect@withheldforprivacy.com
                                 replicawatches333@gmail.com
         replica-watches-
133                              info@replicawatchkarachi.pk
         germany.com
                                 contact@privacyprotect.org
134      replicawatchespro.co    sale@replicawatchespro.co
                                 salestores666@gmail.com
135      replicaxi.com
                                 pw-ae88c4288c9432c3ff900af2bdb2e38c@privacyguardian.org
136      resinstatue.club        louis@help-service.vip
137      sdehbag.top             https://sdehbag.top/index.php?main_page=contact_us
138      sffp.shop               https://sffp.shop/index.php?main_page=contact_us
139      sneakerinbox.com        support@sneakerinbox.com
140      taikcmj.top             https://taikcmj.top/index.php?main_page=contact_us
141      tangerjapanoutlet.com   baby@outletsclub.info
142      thcodway.com            support@clientvip.biz
143      theybag.top             https://theybag.top/index.php?main_page=contact_us
144      tikhub.ru               tikhubbag@gmail.com
145      toplifeshop.com         https://www.toplifeshop.com/#:~:text=mail%3atoplifeshoping%40gmail.com
146      towbag.shop             kyneshiaclroxvl@gmail.com
147      udifskb.top             https://udifskb.top/index.php?main_page=contact_us
148      uenmbag.top             https://uenmbag.top/index.php?main_page=contact_us
149      uhdsahwo.top            https://uhdsahwo.top/index.php?main_page=contact_us
150      ujhyfsdt.top            https://ujhyfsdt.top/index.php?main_page=contact_us
151      vipsluxurybags.com      vbagsstore@hotmail.com
152      vlixcolux.com           wennie.tjemerlang@gmail.com
153      vmnxjews.top            https://vmnxjews.top/index.php?main_page=contact_us
154      wdvbf.top               https://wdvbf.top/index.php?main_page=contact_us
155      wfvnbag.top             https://wfvnbag.top/index.php?main_page=contact_us
156      xcfwnm.top              https://xcfwnm.top/index.php?main_page=contact_us
157      xndjosen.top            https://xndjosen.top/index.php?main_page=contact_us
158      xnhyao.top              https://xnhyao.top/index.php?main_page=contact_us
159      xnwyid.top              https://xnwyid.top/index.php?main_page=contact_us
160      yangyuejianqiali.com    742850137@qq.com
161      yfkew.com               servers@chlomail.com
                                 salestores666@gmail.com
162      yreplicabags.com
                                 pw-a53e48ca18bf4df236de83d22d13bb2a@privacyguardian.org
163      ytgfdlcm.top            https://ytgfdlcm.top/index.php?main_page=contact_us


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164      ytrfegh.top           https://ytrfegh.top/index.php?main_page=contact_us




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